       Case: 3:07-cr-00031-jdp Document #: 141 Filed: 03/24/08 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT

                  FOR THE WESTERN DISTRICT OF WISCONSIN

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

UNITED STATES OF AMERICA,
                                                              ORDER
                           Plaintiff,
                                                              07-cr-31-jcs-02
             v.

DARRICK ROBISON,

                           Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

      The order entered herein on March 18, 2008 is VACATED.




      Entered this 21st day of March, 2008.

                                         BY THE COURT:
                                         /s/
                                         BARBARA B. CRABB
                                         District Judge




                                            1
